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PAQ Number                 Full Name                PAQ Status
PRQ4857                    Terry, Robert            Submitted: Pending Review
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PAQ Date Submitted             Law Firm                  Jurisdiction
                     7/27/2023 The Miller Firm, LLC      MDL
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